                       IN THE UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                                SOUTHERN DMSION
                                  No. 7:16-CV-302-D


COLEMAN'S ORIGINAL RESTAURANT, )
and PEGGY COLEMAN,              )
                                )
                    Plaintiffs, )
                                )
                     v.                           )                   ORDER
                                  )
SCOTTSDALE INSURANCE COMPANY, )
SCOTTSDALE INDEMNITY COMPANY, )
SCOTTSDALE SURPLUS LINES          )
INSURANCECOMPANY,                 )
RYZE CLAIM SOLUTIONS, LLC,        )
EAGLE ADJUSTING SERVICES, INC.,   )
and MICHAEL JOSEPH GERHART,       )
                                  )
                      Defendants. )


       On September 2, 2016, Coleman's Original Restaurant and Peggy Coleman ("plaintiffs")

moved to remand this action to Brunswick County Superior Court [D.E. 20]. Plaintiffs, North

Carolina citizens, argue that defendant Michael Joseph Gerhart ("Gerhart") is also a North Carolina

citizen and therefore defeats complete diversity. See [D.E. 20], [D.E. 21] 2-9; cf. 28 U.S.C. §

1332(a)(1). On September 23, 2016, defendants responded in opposition and argue that plaintiffs
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fraudulently joined Gerhart in order to defeat diversity jurisdiction. See [D.E. 24] 2-12. On

October 11, 2016, plaintiffs replied [D.E. 28].

       The court has reviewed the record, North Carolina law, and the parties' arguments

concerning fraudulent joinder. See, e.g., Mayes v. Rapoport, 198 F.3d 457, 461 (4th Cir. 1999);

Hartley v. CSX Trans .. Inc., 187 F .3d 422, 424-25 (4th Cir. 1999); Marshall v. Manville Sales Corp.,

6 F.3d229, 232-33 (4th Cir. 1993); Sampson v. Leonard, No. 4:10-CV-121-D, 2011 WL 129634,



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at *2-3 (E.D.N.C. Jan. 12, 2011) (unpublished); Capparelli v. AmeriFirstHomelmp. Fin. Co., 535

F. Supp. 2d554, 559-:-61 (E.D.N.C. 2008). Defendants have failed to "showthattheplaintiffcannot

establish a claim [against Gerhart] even after resolving all issues of law and fact in the plaintiff's

favor." Hartley, 187 F.3d at 424. Stated differently, the record shows that plaintiffs have "a

possibility of a right to relief' against Gerhart and no "outright fraud" appears in plaintiffs'

pleadings. Marshall, 6 F.3d at 33. Thus, the court lacks subject-matter jurisdiction based on

diversity jurisdiction.

         In sum, plaintiffs' motion to remand [D.E. 20] is GRANTED. Plaintiffs' request for

attorney's fees is DENIED. The action is REMANDED to Brunswick County Superior Court.

        SO ORDERED. This ...2l_ day of December 2016.




                                                        Chief United States District Judge




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